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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, ET AL.,

            Plaintiffs,

            v.                                              Case No. 16-2105-JAR-JPO

KRIS KOBACH, KANSAS SECRETARY OF
STATE,

            Defendant.


                     ORDER SETTING PRETRIAL FILING DEADLINES

       This case is set for a bench trial beginning March 6, 2018, in Courtroom 427, Kansas

City, Kansas. In addition, the Court sets the following deadlines.

I.     WITNESSES AND EXHIBITS.

       a.        Final Witness And Exhibit Disclosures Under Rule 26(a)(3). No later than

January 30, 2018, the parties shall file final witness and exhibit disclosures pursuant to Fed. R.

Civ. P. 26(a)(3)(A). The parties’ final witness lists shall specify which witnesses will be called

live, and which will be called via written or video deposition. With regard to each witness

disclosed under Fed. R. Civ. P. 26(a)(3)(A)(i), the disclosures also shall set forth the subject

matter of the expected testimony and a brief synopsis of the substance of the facts to which the

witness is expected to testify. Witnesses expected to testify as experts shall be so designated.

Witnesses and exhibits disclosed by one party may be called or offered by any other party.

Witnesses and exhibits not so disclosed and exchanged as required by the Court’s order shall not

be permitted to testify or be received in evidence, respectively, except by agreement of counsel

or upon order of the Court.

       b.        Objections. No later than February 13, 2018, the parties shall file any objections
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under Fed. R. Civ. P. 26(a)(3)(B). The Court shall deem waived any objection not timely

asserted, unless excused by the Court for good cause shown.

       c.       Exhibits. No later than February 27, 2018, the parties shall mark all exhibits.

The parties shall exchange copies of exhibits at or before the time they are marked. The parties

shall also prepare lists of their expected exhibits for use by the courtroom deputy clerk and the

court reporter. In marking exhibits, the parties shall use preassigned ranges of numbered

exhibits. Plaintiff(s) shall use Exhibit Nos. 1-800; Defendant(s) shall use Exhibit Nos. 801 and

higher. The parties shall mark each exhibit that they expect to offer with an exhibit sticker and

place each exhibit in a three-ring notebook with numbered tabs that correspond to the numbered

exhibits.

        Parties are expected to use presentation technology available in the courtroom to display

evidence to the jury. Training on the equipment should be arranged well in advance of trial with

the courtroom deputy. See “Courtroom Technology” link on the district website at

http://ks.uscourts.gov.

       d.       Deposition Testimony. No later than January 30, 2018, consistent with Fed. R.

Civ. P. 26(a)(3)(A)(ii), any deposition testimony which a party seeks to offer other than to

impeach a testifying witness shall be designated by page and line in a pleading and filed. No

later than February 13, 2018, any counter-designations in accordance with Fed. R. Civ. P.

32(a)(6), together with any objections to designations made by the offering party, shall be filed.

No later than February 20, 2018, any objections to the counter-designations shall be filed.

Before filing any objections, the parties shall have conferred in good faith to resolve the dispute

among themselves. No later than February 27, 2018, to facilitate the Court’s ruling on any

objections to designations or counter-designations, the party seeking to offer the deposition




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testimony shall provide the Court a copy of each deposition transcript at issue. Red highlighting

shall be used to identify the testimony that plaintiffs have designated, blue highlighting shall be

used for defendant, and green highlighting shall be used to identify the objections to any

designated testimony. After receiving and reviewing these highlighted transcripts, the Court will

issue its rulings regarding any objections. The parties shall then file the portions of the

depositions to be used at trial in accordance with D. Kan. Rule 32.1 and submit any videotape or

DVD edited testimony to reflect the designations and the Court’s rulings on objections.

II.     MOTIONS.

        Absent an order of the Court, the arguments and authorities section of briefs or

memoranda submitted in connection with all further motions or other pretrial matters shall not

exceed 20 pages.

        a.      Pending Motions. Plaintiffs’ Motion for Contempt (Doc. 423), filed on January

8, 2018.

        b.      Motions In Limine. The parties shall file all motions in limine no later than

February 13, 2018. The parties shall file briefs in opposition to motions in limine within the time

period required by D. Kan. Rule 6(1)(d)(1), or at least February 20, 2018, whichever is earlier.

Absent leave of the Court, the parties shall not file reply briefs in support of motions in limine.

III.    PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

        No later than February 20, 2018, a party may submit a set of proposed findings of fact

and conclusions of law which complies with the requirements of D. Kan. Rule 7.6. The Court

does not require proposed findings of fact and conclusions of law but finds them helpful if the

parties anticipate that unique or difficult issues of law will arise during trial.




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IV.    GUIDELINES FOR CIVIL AND CRIMINAL PROCEEDINGS

       The parties are encouraged to review Judge Robinson's Guidelines for Civil and Criminal

Proceedings, available at http://www.ksd.uscourts.gov/julie-a-robinson/ for further information

about Judge Robinson's preferences and requirements for trial.


       Dated: January 10, 2018

                                                    S/ Julie A. Robinson
                                                    JULIE A. ROBINSON
                                                    UNITED STATES DISTRICT JUDGE




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                      Event                            Deadline/Setting


Trial                                               March 6, 2018
Final witness & exhibit disclosures                 January 30, 2018
Deposition testimony designated                     January 30, 2018
Motions in limine                                   February 13, 2018
Objections to final witness & exhibit disclosures   February 13, 2018
Objections to deposition designations, along with   February 13, 2018
counter-designations
Briefs in opposition to motions in limine           February 20, 2018
Objections to counter-designations of deposition    February 20, 2018
testimony
Preliminary sets of proposed findings of fact and   February 20, 2018
conclusions of law in bench trials
Exhibits marked                                     February 27, 2018
Submission of disputes concerning designated        February 27, 2018
deposition testimony




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